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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

------------------------------- x
DONGGUK UNIVERSITY,             : No. 3:08-CV-00441 (RNC)
                                :
          Plaintiff,            :
                                :
     v.                         :
                                :
YALE UNIVERSITY,                :
                                :
          Defendant.            : JUNE 2, 2008
------------------------------- x

                                   MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Yale University moves

to dismiss all claims in Plaintiff Dongguk University’s Complaint.



                                                 DEFENDANT YALE UNIVERSITY

                                                 By:        /s/ Felix J. Springer
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                                                        Its attorneys




ORAL ARGUMENT REQUESTED
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                                       CERTIFICATION

        I hereby certify that on June 2, 2008, a copy of the foregoing Motion to Dismiss was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.




                                                         /s/ Felix J. Springer




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